Case 2:10-mj-00191-FBS Document1 Filed 04/2

WARRANT FOR ARREST

7/10

Frage 1 of 1 PagelD# 1

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CO-1 60 (Rev - OC 03/2010)

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DOB: 11/30/67 PDID# 625794

 

 

 

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA pocxerno: CR 09-158 MAGIS. NO:
Vv. NAME & ADDRESS OF INDIVIDUAL TO BE ARRESTED
ANDREW WARREN Andrew Warren
2907 Vimy Ridge Avenue

Norfolk, Virginia 23509

 

  

 

TO:

  

OTHER AUTHORIZED OFFICER

WARRANT ISSUED ON THE BASIS OF. DISTRICT CF ARREST
Cl Order of Court C] Information
Cj Indictment Cc] Complaint
ANY UNITED STATES MARSHAL OR city

 

 

YOU ARE HEREBY COMMANDED to arrest the above-named person and bring that person before
the nearest available Magistrate Judge to answer to the charge(s) listed below.

DESCRIPTION OF CHARGES

 

Sexual Abuse in the Special Maritime and Territorial Jurisdiction of the United States

Failure to appear for court hearing

 

 

   
 

 

   

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| IN VIOLATION OF: UNITED STATES CODE TITLE & SECTION. 18:2242(2) and 7(9): WwW =
or
BAIL FIXEO BY COURT: OTHER CONDITIONS OF RELEASE: o n
H.W.O.B.
ORDERED By: JUOGEMIMAGISTRATE JUDGE pout
Judge Ellen Segal Huvelle Judge Ellen Segal Huvelle < Leo ovum 2010

 

 

 

   
 
 

CLERK OF COURT:

 

Angela D. Caesar

 

 
 

 

 

 

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This warrant was received and executed with the arrest of the above-nbrfigd param O™
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DATE RECEIVED NAME AND TITLE OF ARRESTING OFFICER

OY /26/Zo010

DATE
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ECUTED
/27/Lolo

 

Gregory Sokolewrc2
DEPUTY U.S. AZFARSHAC

SIGN TORE O

—Fr gory 25 het

STING OFFICER

 

 
